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 3                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
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 5      UNITED STATES OF AMERICA,
 6                                                              Case No. CR05-5823
                                Plaintiff,
 7                                                              INITIAL ORDER RE:
                         v.                                     ALLEGATIONS OF
 8                                                              VIOLATION OF
        APRYL J. BEACH,                                         CONDITIONS OF
 9                                                              SUPERVISION
                                Defendant.
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12          THIS MATTER comes on for an initial hearing on the Petition of the United States Pretrial
     Services Office alleging that the defendant has violated the conditions of supervision by consuming
13   alcohol on or about August 4, 2006.

14              The plaintiff appears through Assistant United States Attorney, KENT LIEU;

15              The defendant appears personally and represented by counsel, THOMAS CAMPBELL.

16           The defendant was advised of the allegation, of her right to a hearing, and that the maximum
     consequence if found to be in violation was detention for violating the condition of her Appearance
17   Bond until her sentencing date. Thereafter the defendant freely and voluntarily admitted the violation
     as alleged.
18       The court schedules the matter for diposition before the HONORABLE KAREN L.
19   STROMBOM, on the date and time set forth below:

20                            Date of hearing:            AUGUST 15, 2006

21                            Time of hearing:            1:30 P.M.

22         IT IS ORDERED that the defendant be detained pending the dipsositon hearing above set forth,
     to be delivered as ordered by the court for further proceedings.
23           The clerks shall direct copies of this order to counsel for the United States, to counsel for the
24   defendant, the United States Marshal and to the United States Probation Office and/or Pretrial Services
     Office.
25                                                        August 8, 2006.
26
27                                                        _/s/ J. Kelley Arnold ______________
                                                          J. Kelley Arnold, U.S. Magistrate Judge
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     ORDER
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